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IN TI~IE UNITED STATES DISTRICT COURT
FOR THE N()RTHERN DISTRIC'I` OF ILLINOIS

EASTERN DIVISIO_N
SURFSIDE NON-SURGICAL )
ORTHOPEDICS, P.A., individually and on )
behalf of" all others similarly-situated )
)
P|aintii`i`, ) Case No.: l:lS-ev~`00566
)
v. ) Hon. Sara Ellis
)
ALLSCRIPTS l-IEALTHCARE ) Hon. .lel`f`rey Cole_. Magistrate
SOLUTIONS, INC.` )
)
Dci`cndant. )

PLAINTIFF‘S OBJECTlON TO DEFENDANT’S MOT!()N TO DEFER lDOC. #361
Plaintil"l" Surfside Non-Surgical Orthopedics, I’.A., through its counsel. objects l to

Defendant’s Motion to Defer Time to File an Answer and Stay Discovery [Doc. #36], and in
support thereol"_. states as follows:

l. Plaintil"f` and Det`cndant have conferred on this matter, and'Sc\/cral others. Plaintifl`
contends that Defendant is a proper party in this matter, and Defendant contends the oppositen

2. Limited jurisdictional discovery is underway; howevcr, the adequacy 01"
Dct`cndant’s answers remains in dispute, has been the subject of conferral between the parties, and
is expected to be the subject ot`a motion to compel (thoug.h not presently before this court). A
deposition adduced testimony that both parties Consider useful for their respective positions

3. P|aintiFF understands Def"endant"s position that it Was not responsible I"or anything
related to thc ransomwarc attack and its fallout. Plajntil`l` opposes that position and contends that
Defendant INC. indeed was a stakeholder and participant, and, accordingly, Del`endant lNC."s acts

andfor omissions affected the circumstances that gave rise lo the attack and its i`al|-out.

 

' Plaintii`t"s objection corresponds, by paragraph number, to the paragraphs in Dci`endant‘s ntotion.

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4. Sev.cral factual disputes remain between thc parties Disputcs conceivably exist as
to the applicable legal standard as we|l. Both facts and applicable law cause Dei`cndant [NC. to be
a cause ol`the attack at issuc.

5. Plainti{`t` neither needs_. nor intends to, pierce a corporate veil in connection with
establishing liability against Defendant INC. Nor does Plaintii`i` accept that De|aware law applies
The parties have not discussed that issue, and it is not presently before the Court. That said,
Plaintil"l"contends that illinois law applics.

6. Plaintii`i" accepts that Delaware courts do not easily pierce a corporate veil;
however, that lavv, and the notion ol`piercing a corporate veil_. are not at issue in this case. Plaintit`i`
need not pierce a corporate veil to attribute liability against Del`endant INC.

7. Plaintit`l` has standing to sue Del"en'dant lNC., because De-fendant INC. is a cause ot"
and a direct participant in Plainlil"ii`s injury. See. e.g. Forsyr)'t v. C!nrk USA, luc._. 224 lll.?.d 274_.
299 (2007). Moreover_. evidence exists to support |’laintit:t'"s theory of liability against Dct`endant
INC.

8. Plainl'it`i" is the master oi` its complaint and has elected to proceed with a viable
theory against Det"cndant INC. A viable theory against one defendant does not perforce negate a
viable theory against any other defendant Disputed between the parties, but supported by fact and
law, is that INC. is no stranger or mere passer-by to the operations of LLC.

9. During the parties" most recent meet and conl"er -on lime 13, 20181 Plaintii`i"s
counsel asked Del`ense counsel il" there existed any fact that Plaintii"f could plead so as to cause
Dei`endant INC. to accept that INC. is a proper party. Dei`endant INC.`s counsel indicated that no
such l`act existed. Notably, there is no need for, and no applicability of`._ a corporate veil piercing l`or

liability to attach to Det"`endan-t INC.

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l(]. Plaintil`l` contends that both an answer by DeFendant INC. in this matter and
standard discovery encompassed by the MIDPP arc appropriate Morc speci'lically, in the meet and
coni`ei', Plaintiff clarified that a motion to dismiss, even for an alleged lack of subject matter
jurisdiction, is not a basis for det`erral. l’laintiff acknowledges that the Court may enter an Order
allowing for deferral. Nonetheless, the purpose oi` the IvilDPP is better fulfilled by causing the
parties in this case to participate in the pilot program without deferral or modificationl

l l. Plai.ntit`l` opposes the motion because good cause has not been shown, as required
by the General Order [Standing Order Regarding Mandatory Initial Discovery Pilot Projeet, il 3;
Mandatory lInitial Discov.cry Pilot l’roject Checklist, p. l]. More importantly, in actuality, the
parties and the Court are better served by continued application oi` the MIDPP- The pilot program
causes parties to disclose both favorable and unfavorable ini`onnation, as tvell as to consider the
case from the perspective oi` the opponent. Where the voluntary discovery in this case has proven
unproductive, the pilot program discovery is likely to assist the parties and the Court. Factual
disputes may resolve or lesscn. The program’s goal to promotejustice, reduce costs_. and expedite
the t`air resolution oi` claims is satisfied and its intention to “`promote civility [and] demote

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gameslnanshlp" ts also well-placed.*

Dated: lune 2?, 2018 Respectfully submitted,

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